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(Mie

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

UNITED STATES OF AMERICA, )
)
)
v. ) CRIMINAL ACTION
) NO. 07-CR-0258
)
GREGORY JONES, )
)
LLOYD WASHINGTON, JR., and )
| FILED
RONALD CRAWFORD, ) FEB 2K 2009
) ,
Defendants. ) MICHAEL E. KUNZ, Clerk
By. Dep. Clerk
OQRDER

AND NOW, this 26th day of February, 2009, it is hereby ORDERED that
Defendants shall respond to the Government’s Third and Fourth Motions in Limine to Admit

Testimony [Document Nos. 221 & 222] on or before March 12, 2009.

BY THE COURT:

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Cn ae KU
CYNTHIA M. RUFE, J.

 
